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                 Exhibit B
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Certification and Authorization of Plaintiff Pursuant to Federal Securities
Laws
The individual or entity listed below (the "Plaintiff") authorizes and, upon execution of the accompanying retainer
agreement by Bernstein Liebhard LLP, retains Bernstein Liebhard LLP to file an action under the federal
securities laws to recover damages and to seek other relief against Immunomedics, Inc. Bernstein Liebhard LLP
will prosecute the action on a contingent fee basis and will advance all costs and expenses. The Immunomedics,
Inc. Retention Agreement provided to the Plaintiff is incorporated by reference, upon execution by Bernstein
Liebhard LLP.

First Name:                      Franck Alexandre
Middle Name:
Last Name:                       Fiebig
If Representing
Corporation, Trust,
Partnership or other
entity, Name of Entity:
If Representing an Entity,
Position at Entity:
Address:
City:
State:                               REDACTED
Zip:
Country:
Phone:
Email:




Plaintiff certifies that:

       1. Plaintiff has reviewed the complaint and authorized its filing and/or the filing of a Lead Plaintiff motion on
          Plaintiff's behalf.
       2. Plaintiff did not acquire the security that is the subject of this action at the direction of Plaintiff's counsel or
          in order to participate in this private action or any other litigation under the federal securities laws.
       3. Plaintiff is willing to serve as a representative party on behalf of a class, including providing testimony at
          deposition and trial, if necessary.
       4. Plaintiff represents and warrants that he/she/it is fully authorized to enter into and execute this certification.
       5. Plaintiff will not accept any payment for serving as a representative party on behalf of the class beyond the
          Plaintiff's pro rata share of any recovery, except such reasonable costs and expenses (including lost
          wages) directly relating to the representation of the class as ordered or approved by the court.


       6. The following sets forth all of the transactions of the Plaintiff in the securities that are the subject of the
          complaint during the class period specified in the complaint:

         Acquisitions:

          Type of Security             Buy Date                     # of Shares                   Price per Share




                                                                                                           page 1 / 3
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    Common Stock       2019-01-17         6100               17.80

    Common Stock       2019-01-14         100                17.47

    Common Stock       2019-01-14         100                17.48

    Common Stock       2019-01-14         100                17.75

    Common Stock       2019-01-14         73                 17.42

    Common Stock       2019-01-14         100                17.47

    Common Stock       2019-01-14         100                17.47

    Common Stock       2019-01-14         24                 17.70

    Common Stock       2019-01-14         200                17.71

    Common Stock       2019-01-14         100                17.70

    Common Stock       2019-01-14         100                17.60

    Common Stock       2019-01-14         100                17.60

    Common Stock       2019-01-14         100                17.76

    Common Stock       2019-01-14         100                17.70

    Common Stock       2019-01-14         100                17.60

    Common Stock       2019-01-14         100                17.62

    Common Stock       2019-01-14         100                17.70

    Common Stock       2019-01-14         200                17.76

    Common Stock       2019-01-14         100                17.70

    Common Stock       2019-01-14         100                17.70

    Common Stock       2019-01-14         100                17.76

    Common Stock       2019-01-14         200                17.76

    Common Stock       2019-01-14         100                17.76

    Common Stock       2019-01-14         1                  17.70

    Common Stock       2019-01-14         100                17.70

    Common Stock       2019-01-14         99                 17.75

    Common Stock       2019-01-14         200                17.70

    Common Stock       2019-01-14         300                17.76

    Common Stock       2019-01-14         3                  17.76

    Common Stock       2019-01-14         100                17.76

    Common Stock       2019-01-07         3700               15.74

    Common Stock       2018-12-03         2500               20.60

    Common Stock       2018-12-03         2500               20.60




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                                          Sales:




                                        7. Plaintiff has not sought to serve as a representative party on behalf of a class under the federal securities
                                           laws during the last three years, except if detailed below.




                                   I declare under penalty of perjury, under the laws of the United States of         YES
                                   America, that the information entered is accurate:

                                   By clicking on the "submit" button below, I agree to execute this agreement        YES
                                   and retain Bernstein Liebhard LLP to proceed on Plaintiff's behalf on a
                                   contingent fee basis consistent with the retainer agreement.

                                   Signed pursuant to California Civil Code Section 1633.1, et seq. - and the Uniform Electronic Transactions Act as
                                   adopted by the various states and territories of the United States of America.

                                   Date of signing: February 22nd, 2019




                                                                                                                                       page 3 / 3
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